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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT


SCOTT TALMADJE LEWIS,                         :
                                              :
                       Petitioner,            :       CIVIL ACTION NO.
                                              :       3:03-CV-196 (CSH)
v.                                            :
                                              :
COMMISSIONER OF CORRECTION,                   :       MAY 28, 2013
                                              :
                       Respondent.            :


                      RULING ON MOTION TO QUASH SUBPOENAS

HAIGHT, Senior District Judge:

       The City of New Haven, acting on behalf of the New Haven Police Department ("NHPD"),

and the office of the Corporation Counsel of the City of New Haven move to quash subpoenas

directed to the NHPD and to the Corporation Counsel by the Petitioner in this habeas corpus action

under 28 U.S.C. § 2254. [Doc. 207]. Counsel for Petitioner have responded to that motion.

       Assuming without deciding that the Court's prior Discovery Order [Doc. 196] did not

authorize Petitioner to serve the subpoena in question upon the NHPD, that authority is now granted

by this Order, nunc pro tunc.

       The materials sought to be reached by these subpoenas are in general terms properly

discoverable in this habeas proceeding, and to the extent the NHPD and Corporation Counsel

contend otherwise, their contentions are unpersuasive. Petitioner's counsel, in the responsive papers

[brief, Doc. 217] and priority list [Doc. 217-1], properly recognize that the subpoenas will put their

recipients to considerable effort, and prioritize the order in which documents should be produced by



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the NHPD, within the context of the evidentiary hearing on the habeas action which is scheduled to

begin on June 3, 2013. That is a useful proposal. The NHPD is directed to use its best efforts to

produce the documents called for by the subpoenas as promptly as possible, following the order of

priority specified in Doc. 217-1. While the Court acknowledges and appreciates the efforts to which

the NHPD will be put by this subpoena, those in present command of the Department should perhaps

reflect that a driving cause of this habeas corpus proceeding is the questionable conduct of a former

NHPD detective.

       In their motion to quash, both the NHPD and Corporation Counsel invoke in general terms

the attorney-client privilege. The Petitioner cannot respond to a claim of privilege, and the Court

cannot evaluate the claim, in the absence of the sort of privilege log embraced by familiar discovery

rules and practice. On the present record, the subpoena recipients' claims of attorney-client privilege

are DENIED, without prejudice to reassertion on a proper showing.

       For these reasons, the motion on behalf of the New Haven Police Department and by the

Corporation Counsel of the City to quash the subpoenas served upon them by Petitioner [Doc. 207]

is DENIED, without prejudice to renewal in conformity with this Ruling. The moving parties are

directed to COMPLY with the subpoenas, as MODIFIED in respect of the NHPD by this Ruling.

       The foregoing is SO ORDERED.

Dated: New Haven, Connecticut
       May 28, 2013



                                               /s/Charles S. Haight, Jr.
                                               CHARLES S. HAIGHT, JR.
                                               Senior United States District Judge



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